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Parcel Number       Address                  Parcel Number   Address
0624055103040       REAR LAND ELYRIA; OH     0201003179023   208 W 25TH ST LORAIN; OH
                    44035                                    44052
0201003160008       2008 OAKDALE AVE         0201003154003   W 18TH ST LORAIN; OH
                    LORAIN; OH 44052                         44052
0624055103016       118 TAFT AVE ELYRIA;     0201006135052   LONG AVE LORAIN; OH 44052
                    OH 44035
0300050113002       MASSACHUSETTS AVE        0201006137029   W 18TH ST LORAIN; OH
                    LORAIN; OH 44052                         44052
0201006159028       W 23RD ST LORAIN; OH     0201006145034   W 21ST ST LORAIN; OH
                    44052                                    44052
0624026106002       404 HIGH ST ELYRIA; OH   0300079108002   2370 E 41ST ST LORAIN; OH
                    44035                                    44055
0201003187024       LEXINGTON AVE LORAIN;    0300098116036   DENVER AVE LORAIN; OH
                    OH 44052                                 44055
0201006130013       W 14TH ST LORAIN; OH     0300100116012   3914 CAFERRO AVE
                    44052                                    LORAIN; OH 44055
0201003180025       W 25TH ST LORAIN; OH     0300103107001   E 35TH ST LORAIN; OH 44055
                    44052
0201006135026       829 W 17TH ST LORAIN;    0300081113010   3320 CAMDEN AVE
                    OH 44052                                 LORAIN; OH 44055
0201003133003       W 13TH ST LORAIN; OH     0300098125011   E 32ND ST LORAIN; OH 44055
                    44052
0201003183013       2422 OAKDALE AVE         0300111109004   1646 SCHOOL ST
                    LORAIN; OH 44052                         LORAIN; OH 44055
0201003179022       LIVINGSTON AVE LORAIN;   0300053103022   1528 FILLMORE AVE
                    OH 44052                                 LORAIN; OH 44052
0201004111001       W 9TH ST LORAIN; OH      0300096106026   E 33RD ST LORAIN; OH 44055
                    44052
0201006127037       W 14TH ST LORAIN; OH     0300080104018   2365 HOMEWOOD DR
                    44052                                    LORAIN; OH 44055
0201006134007       W 18TH ST LORAIN; OH     0300098125009   E 32ND ST LORAIN; OH 44055
                    44052
0201005115007       REAR LAND LORAIN; OH     0300096120012   E 34TH ST LORAIN; OH 44055
                    44052
0201004114011       816 W 11TH ST LORAIN;    0300097102010   1405 E 29TH ST LORAIN; OH
                    OH 44052                                 44055
0100002112002       LIBERTY AVE VERMILION;   0201003184018   W 25TH ST LORAIN; OH
                    OH 44089                                 44052
0201006115035       W 9TH ST LORAIN; OH      0202026111021   1300 W 8TH ST LORAIN; OH
                    44052                                    44052
0201006135018       W 17TH ST LORAIN; OH     0201005115015   904 W 8TH ST LORAIN; OH
                    44052                                    44052
0201006130001       1405 WASHINGTON AVE      0202026113012   W 8TH ST LORAIN; OH 44052
                    LORAIN; OH 44052
0201006140012       1119 W 19TH ST LORAIN;   0100003111041   LANSING RD VERMILION; OH
                    OH 44052                                 44089
0201003122007       1039 STREATOR PL         0100003111040   LANSING RD VERMILION; OH
                    LORAIN; OH 44052                         44089
0201006117020       W 10TH ST LORAIN; OH     0100003112020   LANSING RD VERMILION; OH
                    44052                                    44089
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0202025104014       W 14TH ST LORAIN; OH     0202024117054   W 21ST ST LORAIN; OH
                    44052                                    44052
0202025110013       W 17TH ST LORAIN; OH     0202025114026   1246 W 19TH ST LORAIN; OH
                    44052                                    44052
0200093108023       2352 EAST AVE            0201006149019   2139 HAMILTON AVE
                    LORAIN; OH 44055                         LORAIN; OH 44052
0201006136003       LONG AVE LORAIN; OH      0201006135051   LONG AVE LORAIN; OH 44052
                    44052
0202024108021       REAR LAND LORAIN; OH     0202026114019   W 9TH ST LORAIN; OH 44052
                    44052
0202025122015       1422 W 22ND ST LORAIN;   0201006130005   WASHINGTON AVE LORAIN;
                    OH 44052                                 OH 44052
0201006122020       WASHINGTON AVE           0624066101026   631 DEWEY AVE
                    LORAIN; OH 44052                         ELYRIA; OH 44035
0201006133030       1109 W 17TH ST LORAIN;   0624028108015   617 WELLER RD
                    OH 44052                                 ELYRIA; OH 44035
0201006130008       933 W 14TH ST LORAIN;    0624056000008   BATH ST ELYRIA; OH 44035
                    OH 44052
0300053103022       1530 FILLMORE AVE        0200093117034   2727 DENVER AVE
                    LORAIN; OH 44052                         LORAIN; OH 44055
0300050112013       MASSACHUSETTS AVE        0200093117035   DENVER AVE LORAIN; OH
                    LORAIN; OH 44052                         44055
0202025112016       UTICA AVE LORAIN; OH     0200051126033   F ST LORAIN; OH 44052
                    44052
0202025119024       1402 W 21ST ST LORAIN;   0201003161010   W 20TH ST LORAIN; OH
                    OH 44052                                 44052
0300083111005       E 28TH ST LORAIN; OH     0201006134008   HAMILTON AVE LORAIN; OH
                    44055                                    44052
0300053103026       1544 FILLMORE AVE        0201003147002   219 W 17TH ST LORAIN; OH
                    LORAIN; OH 44052                         44052
0300098105021       2937 ELYRIA AVE          0201003179026   W 25TH ST LORAIN; OH
                    LORAIN; OH 44055                         44052
0201006132015       W 17TH ST LORAIN; OH     0201003180006   LIVINGSTON AVE LORAIN; OH
                    44052                                    44052
0300080104018       2363 HOMEWOOD DR         0200093114015   CAROLINE AVE LORAIN; OH
                    LORAIN; OH 44055                         44055
0300096109010       E 29TH ST LORAIN; OH     0201003143014   W 18TH ST LORAIN; OH
                    44055                                    44052
0300082101008       2329 E 29TH ST LORAIN;   0201005120017   WASHINGTON AVE LORAIN;
                    OH 44055                                 OH 44052
0300055112008       MONROE AVE LORAIN;       0201006132015   1018 W 17TH ST LORAIN; OH
                    OH 44052                                 44052
0300098113023       ELYRIA AVE LORAIN; OH    0100002112007   LIBERTY AVE VERMILION; OH
                    44055                                    44089
0300098125010       E 32ND ST LORAIN; OH     0201005120015   WASHINGTON AVE LORAIN;
                    44055                                    OH 44052
0300050112012       1298                     0201005115018   W 8TH ST LORAIN; OH 44052
                    MASSACHUSETTS AVE
                    LORAIN; OH 44052
0300053103024       1538 FILLMORE AVE        0201006135020   W 17TH ST LORAIN; OH
                    LORAIN; OH 44052                         44052
0300103114012       3713 CLIFTON AVE         0201006138008   W 18TH ST LORAIN; OH
                    LORAIN; OH 44055                         44052
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0300103105002       CLIFTON AVE LORAIN; OH   0201003129010   REID AVE LORAIN; OH 44052
                    44055
0300082105011       2443 E 29TH ST LORAIN;   0201003132009   W 13TH ST LORAIN; OH
                    OH 44055                                 44052
0300056116010       NEW MEXICO AVE           0201003111052   DELAWARE AVE LORAIN; OH
                    LORAIN; OH 44052                         44052
0300053103024       1536 FILLMORE AVE        0100002112001   LIBERTY AVE VERMILION; OH
                    LORAIN; OH 44052                         44089
0202026112017       1232 W 8TH ST LORAIN;    0201003131026   520 W 14TH ST LORAIN; OH
                    OH 44052                                 44052
0300103115053       3820 OMAHA AVE           0201006132010   W 17TH ST LORAIN; OH
                    LORAIN; OH 44055                         44052
0300095101030       E 29TH ST LORAIN; OH     0201005115017   W 8TH ST LORAIN; OH 44052
                    44055
0300056116009       NEW MEXICO AVE           0201005115020   W 8TH ST LORAIN; OH 44052
                    LORAIN; OH 44052
0300083111007       E 28TH ST LORAIN; OH     0201006131016   1616 HAMILTON AVE
                    44055                                    LORAIN; OH 44052
0300098114008       214 E 31ST ST LORAIN;    0201006132014   W 17TH ST LORAIN; OH
                    OH 44055                                 44052
0300096103036       E 31ST ST LORAIN; OH     0626003103022   16TH ST ELYRIA; OH
                    44055                                    44035
0300097112015       DALLAS AVE LORAIN; OH    0201003160006   OAKDALE AVE LORAIN; OH
                    44055                                    44052
0300056127016       CROMWELL DR LORAIN;      0201003152016   W 18TH ST LORAIN; OH
                    OH 44052                                 44052
0300094105028       E 30TH ST LORAIN; OH     0300097116021   VICTORY AVE LORAIN; OH
                    44055                                    44055
0300098105028       2938 CAROLINE AVE        0300098131020   E 35TH ST LORAIN; OH 44055
                    LORAIN; OH 44055
0300098106021       DENVER AVE LORAIN; OH    0624064103002   BATH ST ELYRIA; OH 44035
                    44055

0624026105007       COURTLAND ST ELYRIA;     0300056112029   CREHORE ST LORAIN; OH
                    OH 44035                                 44052
0624053103011       228 FOSTER AVE           1000003116006   WEST AVE ELYRIA; OH 44035
                    ELYRIA; OH 44035
0624084103005       LAKE AVE ELYRIA; OH      0100002112008   REAR LAND VERMILION; OH
                    44035                                    44089
0624068103001       ADAMS ST ELYRIA; OH      0100003111042   LANSING RD VERMILION; OH
                    44035                                    44089
0624067102001       ADAMS ST ELYRIA; OH      0100003112021   LANSING RD VERMILION; OH
                    44035                                    44089
0624049101007       HAYES AVE ELYRIA; OH     0100003111038   LANSING RD VERMILION; OH
                    44035                                    44089
0625006128018       LONGSON AVE ELYRIA;      0100003111039   LANSING RD VERMILION; OH
                    OH 44035                                 44089
0624064103003       BATH ST ELYRIA; OH       1000003117034   18TH ST ELYRIA; OH
                    44035                                    44035
0624084101022       FOSTER AVE ELYRIA; OH    0100003111037   LANSING RD VERMILION; OH
                    44035                                    44089
0625006129008       822 LONGSON AVE          0100003112018   LANSING RD VERMILION; OH
                    ELYRIA; OH 44035                         44089
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0624066102008       FOSTER AVE ELYRIA; OH    0100003112019   LANSING RD VERMILION; OH
                    44035                                    44089
0626008102009       13TH ST ELYRIA; OH       0201003175008   W 23RD ST LORAIN; OH
                    44035                                    44052
0624070104010       BOND ST ELYRIA; OH       0201003147006   REID AVE LORAIN; OH 44052
                    44035
0624034105010       PARMELY AVE ELYRIA;      0201003182020   APPLE AVE LORAIN; OH
                    OH 44035                                 44055
0626033000002       6TH ST ELYRIA; OH        0201003212016   W 32ND ST LORAIN; OH
                    44035                                    44055
0624083102005       OAK ST ELYRIA; OH        0201003153004   409 W 18TH ST LORAIN; OH
                    44035                                    44052
0624051105002       531 FURNACE ST           0201003147001   223 W 17TH ST LORAIN; OH
                    ELYRIA; OH 44035                         44052
0201003135025       W 17TH ST LORAIN; OH     0201003173016   W 23RD ST LORAIN; OH
                    44052                                    44052
0624129000016       KAISER CT ELYRIA; OH     1000003116002   WEST AVE ELYRIA; OH 44035
                    44035
0626071000001       W BRIDGE ST ELYRIA; OH   1000003117008   17TH ST ELYRIA; OH
                    44035                                    44035
0626070000003       136 W BRIDGE ST          1000003115009   WEST AVE ELYRIA; OH 44035
                    ELYRIA; OH 44035
0626008103003       13TH ST ELYRIA; OH       1000003119022   MAPLE ST ELYRIA; OH 44035
                    44035
0626019101030       239 GATES AVE ELYRIA;    0300056126016   CROMWELL DR LORAIN; OH
                    OH 44035                                 44052
0626070000004       W BRIDGE ST ELYRIA; OH   0300050112012   1296
                    44035                                    MASSACHUSETTS AVE
                                                             LORAIN; OH 44052
0626008102016       WEST AVE ELYRIA; OH      0300082114005   CAMDEN AVE LORAIN; OH
                    44035                                    44055
0624084103004       LAKE AVE ELYRIA; OH      0300103115052   OMAHA AVE LORAIN; OH
                    44035                                    44055
0626019102006       240 GATES AVE ELYRIA;    0300056122010   NEW MEXICO AVE LORAIN;
                    OH 44035                                 OH 44052
0622020105033       STATE ST ELYRIA; OH      0300055120015   NEW HAMPSHIRE AVE
                    44035                                    LORAIN; OH 44052
0624084101021       FOSTER AVE ELYRIA; OH    0300096106016   1656 E 33RD ST LORAIN; OH
                    44035                                    44055
0625116000013       2 FRANK CT ELYRIA; OH    0300053103026   1546 FILLMORE AVE
                    44035                                    LORAIN; OH 44052
0626056000001       218 CHESTNUT ST          0300098124020   E 32ND ST LORAIN; OH 44055
                    ELYRIA; OH 44035
0624026121011       OAK ST ELYRIA; OH        0300096112020   E 32ND ST LORAIN; OH 44055
                    44035
0624026119011       801 WOODLAND AVE         0300098117015   DENVER AVE LORAIN; OH
                    ELYRIA; OH 44035                         44055
0626056000008       1ST PL ELYRIA; OH        0201006135017   909 W 17TH ST LORAIN; OH
                    44035                                    44052
0624055103039       WEST RIVER RD ELYRIA;    0201006142042   W 20TH ST LORAIN; OH
                    OH 44035                                 44052
0201003219024       REID AVE LORAIN; OH      0626019101037   217 GATES AVE ELYRIA; OH
                    44055                                    44035
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0201005115015       W 8TH ST LORAIN; OH    0626061000020         WURST CT ELYRIA; OH 44035
                    44052
0201005119019       W 10TH ST LORAIN; OH   0700008117077         LEAR NAGLE RD NORTH
                    44052                                        RIDGEVILLE; OH 44039
0300101116033       3888 LORAIN AVE        0700035103014         36923 SUGAR RIDGE RD
                    LORAIN; OH 44055                             NORTH RIDGEVILLE; OH
                                                                 44039
0300046108012       3275 G ST LORAIN; OH   1000003116007         WEST AVE ELYRIA; OH 44035
                    44052




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